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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term
Grand Jury Sworn in on March 16, 2023

UNITED STATES OF AMERICA Case No. 21-cr-699
V. VIOLATIONS:
JOLY GERMINE, also known as Yonyon, 50 U.S.C. § 4819
(Export Control Reform Act)
and
18 U.S.C. § 371
ELIANDE TUNIS, (Conspiracy to Commit Smuggling, 18
U.S.C. § 554(a), and to Defraud the United
Defendants. States)

18 U.S.C. §§ 554(a), 2
(Smuggling, Aiding and Abetting, Causing
an Act to be Done)

18 U.S.C. §§ 1956(a)(1)(A) & (a)(2)(A), 2
(Laundering of Monetary Instruments,
Aiding and Abetting, Causing an Act to be
Done)

SECOND SUPERSEDING INDICTMENT

The Grand Jury charges that:

COUNT ONE

(Conspiracy to Violate the Export Control Reform Act, 50 U.S.C. § 4819)
At all times material to this Second Superseding Indictment:
INTRODUCTION
400 Mawozo and Haiti Kidnappings
1. 400 Mawozo is a Haitian gang and criminal organization that operated in and
around the Croix-des-Bouquets area to the east of Port-au-Prince, Haiti.

2. From at least on or about January 12, 2020, until the present, 400 Mawozo was
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engaged in armed kidnappings of U.S. citizens in Haiti for ransom, including:

3, Between on or about June 24, 2021, and on or about July 10, 2021, two U.S. citizens
were kidnapped at gunpoint and held by 400 Mawozo, and their release was secured after
approximately $30,000 was paid as ransom.

4, Between on or about August 5, 2021, and on or about August 13, 2021, a U.S.
citizen was kidnapped at gunpoint and held by 400 Mawozo, and her release secured after
approximately $50,000 was paid as ransom.

5. Further, on or about October 16, 2021, seventeen Christian missionaries, sixteen of
whom were citizens of the United States, were kidnapped near Port-au-Prince, Haiti, including
five children, one as young as eight months old (“the Hostages”).

6, On or about October 16, 2021, as part of their missionary organization’s work, the
Hostages took a van to visit a local orphanage outside of Port-au-Prince. While returning
therefrom, armed men forced at gunpoint the group’s van driver to stop and took control of the
van. The armed men robbed the Hostages of their property and held the Hostages captive. The
Hostages were not free to leave.

1 On or about October 16, 2021, a representative of the missionary organization
received a phone call from an individual claiming to be a leader of the kidnappers. The individual
stated that he had the Hostages and was holding them for ransom of $1 million each. The individual
told the representative stated that he would be in touch regarding next steps.

8. Beginning on or about October 18, 2021, the 400 Mawozo gang began taking credit
for the kidnapping on social media and making publicly known the ransom demand. Specifically,
on or about October 21, 2021, a leader of 400 Mawozo appeared in a social media video and

announced that the gang was holding the Hostages for ransom.
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9. Two of the Hostages were released on or about November 20, 2021. Three of the
Hostages were released on or about December 5, 2021. The remaining Hostages escaped from
captivity on or about December 16, 2021.

BACKGROUND
The Export Control Reform Act

10. The Export Control Reform Act of 2018 (“‘ECRA”) provides, among its stated
policy objectives, that “[t]he national security and foreign policy of the United States require that
the export, reexport, and in-country transfer of items, and specific activities of United States
persons, wherever located, be controlled... .” 50 U.S.C. § 4811(2). To that end, ECRA grants the
President the authority to control “(1) the export, reexport, and in-country transfer of items subject
to the jurisdiction of the United States, whether by United States persons or by foreign persons;
and (2) the activities of United States persons, wherever located, relating to” specific categories of
items and information. Jd. at § 4812(b). ECRA further grants to the Secretary of Commerce the
authority to establish the applicable regulatory framework. Jd. at § 4813(a).

11. Pursuant to ECRA, the Department of Commerce (“DOC”) reviews and
controls the export of certain items, including commodities, software, and technologies, from
the United States to foreign countries through the Export Administration Regulations (“EAR”),
15 C.F.R. §§ 730-774. In particular, the EAR restrict the export of items that could make a
significant contribution to the military potential of other nations or that could be detrimental to
the foreign policy or national security of the United States. The EAR impose licensing and other
requirements for items subject to the EAR to be exported lawfully from the United States or
re-exported lawfully from one foreign destination to another.

12. The most sensitive items subject to EAR controls are identified on the Commerce
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Control List (“CCL”), published at 15 C.F.R. part 774, Supp. No. 1. Items on the CCL are
categorized by an Export Control Classification Number (““ECCN”) based on their technical
characteristics. Each ECCN has export control requirements depending on the destination, end
user, and end use.

13. Relevant here, the DOC is responsible for licensing the export of a variety of
firearms and related commodities from the United States. When required, these licenses are issued
by the DOC’s Bureau of Industry and Security (“BIS”), which is located in the District of
Columbia.

14, Relevant here, and as described further herein, the rifles and pistols purchased in
furtherance of the conspiracy have been classified by BIS under ECCN 0A501.a, the shotgun
purchased in furtherance of the conspiracy has been classified by BIS under ECCN 0A502, and
the ammunition purchased in furtherance of the conspiracy has been classified by BIS under ECCN
0A505.a. Items under these ECCNs are controlled for the following reasons: (1) National Security,
Regional Stability, and Firearms Convention (ECCN 0A501.a); (ii) Crime Control and Firearms
Convention (ECCN 0A502); and Firearms Convention, National Security, and Regional Stability
(ECCN 0A505.a). Accordingly, export of these weapons from the United States to Haiti requires
an export license issued by BIS.

15. Pursuant to 50 U.S.C. § 4819(a)(1), “i]t shall be unlawful for a person to violate,
attempt to violate, conspire to violate, or cause a violation of this subchapter or of any regulation,
order, license, or other authorization issued under this subchapter, including any of the unlawful
acts described in paragraph (2).” Such unlawful acts include, among other acts, that “[n]o person
may order, buy, remove, conceal, store, use, sell, loan, dispose of, transfer, transport, finance,

forward, or otherwise service, in whole or in part, or conduct negotiations to facilitate such
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activities for, any item exported or to be exported from the United States, or that is otherwise
subject to the [EAR], with knowledge that a violation of this subchapter, the [EAR], or any order,
license or authorization issued thereunder, has occurred, is about to occur, or is intended to occur
in connection with the item unless valid authorization is obtained therefor.” Jd. at § 4819(a)(2).
Pursuant to 50 U.S.C. § 4819(b), “[a] person who willfully commits, willfully attempts to commit,
or willfully conspires to commit, or aids and abets in the commission of, an unlawful act described
in subsection (a)” shall be guilty of a crime.

16. Pursuant to 18 U.S.C. § 554(a), “[w]Jhoever fraudulently or knowingly exports or
sends from the United States, or attempts to export or send from the United States, any
merchandise, article, or object contrary to any law or regulation of the United States, or receives,
conceals, buys, sells, or in any manner facilitates the transportation, concealment, or sale of such
merchandise, article or object, prior to exportation, knowing the same to be intended for
exportation contrary to any law or regulation of the United States” shall be guilty of a crime.

The Gun Control Act

17. The Gun Control Act, 18 U.S.C. § 921 et seq., requires a license to deal in firearms
from the Attorney General, who is located in the District of Columbia. Firearms dealers are
required to fill out, keep, and maintain paperwork, i.e., a Firearms Transaction Record, related to
certain firearms sales, and make the same available to the Bureau of Alcohol, Tobacco, Firearms,
and Explosives (“ATF”), which is also located in the District of Columbia. Among other things, it
is illegal under the Gun Control Act to make a false statement during the purchase of a firearm.

See 18 U.S.C. § 922(a)(6).
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THE CONSPIRATORS

18. JOLY GERMINE, also known as Yonyon (“GERMINE”), is a Haitian national
and a member of 400 Mawozo. GERMINE was incarcerated in Haiti, but still served as a leader
of the gang in Haiti and directed operations from prison using unmonitored cellular phones.

19. — Individual 1 is a Haitian national and a leader of 400:Mawozo. Individual 1 lives in
Haiti. Individual 1 has appeared on videos posted on social media, stated his name, and declared
himself as a leader of 400 Mawozo, including videos posted on social media sites YouTube and
Facebook on or about October 21, 2021. Individual 1 also has given video recorded statements to
the Haitian press in which he claimed to be a leader of 400 Mawozo, including in videos posted
by press organizations on or about April 13, 2020, and September 6, 2021.

20. ELIANDE TUNIS (“TUNIS”) is a U.S. citizen, born in Haiti, who resided in
Florida and is a member of 400 Mawozo.

21. JOCELYN DOR (“DOR”) is a Haitian citizen, who resided in Florida. DOR held
a Florida carrying a concealed weapon (“CCW”) permit, and, as a result, the Florida mandatory
waiting period to possess a firearm was inapplicable to DOR.

22. WALDER ST. LOUIS (‘ST.LOUIS’) is a Haitian citizen, who resided in Florida.
ST. LOUIS held a Florida CCW permit, and, as result, the Florida mandatory waiting period to
possess a firearm was inapplicable to ST. LOUIS.

23. Individual 2 is a Haitian citizen who resides in Haiti. Individual 2 served as a
financial facilitator for GERMINE and 400 Mawozo in Haiti and handled the transferring of the
proceeds of the gang’s activities on behalf of 400 Mawozo’s leaders from Haiti to TUNIS, ST.

LOUIS, and DOR in the United States.
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JURISDICTION AND VENUE

24. Acts and omissions in furtherance of the offenses under investigation occurred

within the District of Columbia.
THE CONSPIRACY

25. Beginning at least on or about March 1, 2021, and continuing until on or about
November 8, 2021, GERMINE, TUNIS, and others known and unknown to the Grand Jury, in the
District of Columbia and elsewhere, knowingly and willfully combined, conspired, and agreed
together and with each other to export and cause the exportation of goods, fo wit, firearms and
ammunition, from the United States to Haiti without authorization or a license from BIS, in

violation of 50 U.S.C. § 4819.

Goals
26. The goals and purposes of the conspiracy were, among others:
a. to acquire U.S.-origin goods, specifically firearms and ammunition, from

the United States and export and smuggle them to Haiti to supply members of the 400
Mawozo gang in Haiti;

b. to support the gang activities of 400 Mawozo, including the kidnapping with
firearms of individuals for ransom;

Go to evade the prohibitions and licensing requirements of ECRA;

d. to conceal from United States licensed firearm dealers and, in turn from the
United States government and its agency, ATF, that the U.S.-origin goods were destined
for Haiti so as to avoid penalties and disruption of the illegal activity; and

e. to frustrate the laws and regulations of the United States.
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Manner and Means
27. It was further a part of the conspiracy that the conspirators used the following
manner and means to achieve the goals of the conspiracy:

a. TUNIS regularly contacted the phones utilized by GERMINE and
Individual 1.

b. Individual 1 would instruct GERMINE regarding the types of firearms that
400 Mawozo needed.

ct TUNIS, DOR, and ST. LOUIS obtained from GERMINE specifications for
weapons and ammunition that GERMINE and Individual 1 wanted to be sent to Haiti for
use by 400 Mawozo.

d. TUNIS purchased, and instructed DOR and ST. LOUIS to purchase,
firearms (rifles, pistols, and shotguns) and ammunition for 400 Mawozo, all of which
required a license for export.

e. TUNIS, DOR, and ST. LOUIS filled out ATF forms falsely stating that they
were the “actual buyers” of the firearms and that they were not buying the firearms for
another person, when in fact, they intended to ship and did ship and smuggle the firearms
to Haiti for use by 400 Mawozo.

f. TUNIS, DOR, and ST. LOUIS failed to obtain valid export license(s) from
BIS for their purchases.

g. TUNIS, DOR, and ST. LOUIS exported and smuggled, and caused the
firearms and ammunition to be exported and smuggled to Haiti and attempted the same.
Specifically, certain of the firearms and ammunition were wrapped in garbage bags, loaded

into large multi-gallon drums/barrels, and then covered with various products such as
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clothes, shoes, and Gatorade to hide the presence of firearms and ammunition.

h. GERMINE, TUNIS, DOR, and ST. LOUIS conducted and attempted to
conduct financial transactions affecting interstate or foreign commerce, to pay for the
firearms and ammunition they were purchasing.

Hl In order to fund this conspiracy, at least in part, GERMINE used 400
Mawozo funds obtained from gang activity, to wit, ransom payments made to 400 Mawozo
in response to the kidnapping of U.S. persons between June 2021 and August 2021, which
GERMINE and TUNIS knew to be obtained from this gang activity.

j. ~ GERMINE and TUNIS caused 400 Mawozo funds to be sent by individuals
in Haiti, to include Individual 2, to United States for use by TUNIS, DOR, and ST. LOUIS.

k. After learning of a law enforcement investigation into their activities,
TUNIS, DOR, ST. LOUIS, and others known and unknown to the grand jury, moved or
concealed, and attempted to do the same, firearms and ammunition purchased in
furtherance of the conspiracy.

Overt Acts
28. In furtherance of the conspiracy and to: affect the objects of the conspiracy, the
following overt acts, among others, were committed in the District of Columbia and elsewhere:

a. On or about March 12, 2021, Individual 2 in Haiti wired $5,000 to TUNIS
in Florida in three different payments using two different money services.

b. On or about March 19, 2021, Individual 2 in Haiti wired $2,500 to TUNIS
in Florida.

C. On or about September 17, 2021, GERMINE sent a series of text messages

to TUNIS including a photograph of DOR’s Florida CCW permit, a photograph of a “SVD
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Romak sniper 7.62x54r” rifle on sale for $2,000, and a cell phone contact card for DOR.

d. On or about September 23, 2021, GERMINE and DOR had a 14-minute
call.

e. On or about September 26 and 27, 2021, GERMINE and TUNIS exchanged
a series of WhatsApp text messages related to GERMINE authorizing gang money to be
sent from Haiti for Tunis.

f. Thereafter, also on or about September 27, 2021, Individual 2 in Haiti wired
$2,500 to TUNIS in Florida.

g. On or about September 28, 2021, Individual 2 in Haiti wired $4,000 to
DOR, using two different money services.

h. Also on or about September 28, 2021, TUNIS caused an individual in Iaiti
to wire $4,000 to an associate of TUNIS, using two different money services.

1. Thereafter, also on or about September 28, 2021, GERMINE and TUNIS
exchanged a series of WhatsApp text and audio messages related to purchases of firearms
by DOR and ST. LOUIS. GERMINE told TUNIS that he would send money to DOR the
next day so that DOR could purchase additional firearms.

j. On or about September 29, 2021, GERMINE called Individual 2 in Haiti,
who thereafter wired $4,500 to DOR using two different money services.

k. Also on or about September 29, 2021, TUNIS caused an individual in Haiti
to wire $4,500 to TUNIS, using two different money services.

L. On or about October 4, 2021, GERMINE had an 86-minute call with
TUNIS, during which GERMINE also placed a three-way call to DOR, who was on the

call for 46 minutes.

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m. On or about October 4, 2021, TUNIS sent $1,000 to DOR in two payments
via an online payment application.

n. On or about October 5, 2021, TUNIS withdrew $15,000 in cash from a bank
account registered in her name and deposited the same into an account registered to DOR
at his bank.

0. On or about October 5, 2021, TUNIS and DOR exchanged a series of
WhatsApp text and audio messages while DOR was purchasing firearms.

p. On or about October 5, 2021, DOR sent TUNIS an audio message via
WhatsApp in which DOR stated how a particular rifle can be broken down for shipment,
and in response TUNIS instructed, “have them dismantle them for you.”

q. On or about October 5, 2021, TUNIS and DOR exchanged text messages
about exchanging money for firearms purchased by DOR.

it, On or about October 6, 2021, GERMINE placed two phone calls to ST.
LOUIS.

S. On or about October 6, 2021, Individual 2 in Haiti wired $1,000 to TUNIS,
a payment which TUNIS thereafter reported back to GERMINE.

. On or about October 6, 2021, TUNIS withdrew $16,000 from a bank
account registered in her name.

u. On or about October 6, 2021, TUNIS forwarded to ST. LOUIS an audio
message via WhatsApp, in which GERMINE admonished ST. LOUIS for his failure to
follow GERMINE’s instructions to purchase firearms and praised DOR for quickly

following similar orders.

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v. On or about October 7, 2021, TUNIS and DOR exchanged text messages
about meeting to exchange money.

w. On or about October 7, 2021, DOR deposited $6,330 in cash into a bank
account in his name at his bank.

X. On or about October 9, 2021, TUNIS took pictures of the barrels she had
used to smuggle firearms and ammunition to Haiti.

y. On or about October 11, 2021, ST. LOUIS sent an audio message via
WhatsApp to TUNIS stating that he had sent two barrels containing firearms to Haiti.

Ze On or about October 11, 2021, TUNIS arranged for an individual in Haiti
to wire $5,000 to ST. LOUIS using two different money services.

aa. Also on or about October 11, 2021, Individual 2 in Haiti wired $2,500 to
TUNIS.

bb. Onor about October 12, 2021, TUNIS sent an audio message via WhatsApp
to GERMINE, stating that ST. LOUIS could not obtain the money. In response, GERMINE
sent a message to TUNIS via WhatsApp with the phone number of Individual 2 in Haiti.

ce, On or about October 14, 2021, an individual in Haiti wired $2,000 to
TUNIS.

dd. On or about October 18, 2021, GERMINE had a 7-minute call with
Individual 1, and then immediately thereafter placed an 8-minute call to TUNIS.

ee. On or about October 19, 2021, TUNIS took pictures of the barrels she had
used to smuggle firearms and ammunition and sent the same to GERMINE.

ff. On or about October 20, 2021, GERMINE and ST. LOUIS exchanged

iMessages.

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gg. On or about October 22, 2021, GERMINE and ST. LOUIS exchanged

iMessages.

hh. On or about October 28, 2021, GERMINE and ST. LOUIS exchanged

iMessages.

li. On or about the following dates, TUNIS, DOR, and ST. LOUIS purchased

the following firearms at locations in Florida:

Caliber/ Visited Transaction
Make Model Type Gauge Seller Completed
i. PSA AK-47 Rifle | 7.62x39mm 3/13/2021 | 3/20/2021
ii, | [WI Gilil Rifle 5.56 3/13/2021 | 3/20/2021
iti. | Jimenez Arms | JA Nine Pistol 9mm 3/13/2021 | 3/20/2021
iv. | Colt M4 Carbine | Rifle 5.56 3/13/2021 | 3/20/2021
v. | Taurus PT29FS Pistol 9mm 3/23/2021 | 3/31/2021
vi. | SAR SAR-9 ‘Pistol | 9mm 3/23/2021 | 3/31/2021
vil. | Century Arms | Paratrooper | Rifle 7.62x39mm 4/17/2021 | 4/18/2021
Hellpup
viii. | Radom AK47 Style | Pistol 7.62mm 4/17/2021 | 4/18/2021
ix. | Century Arms | VSKA Rifle 7.62x39mm 9/28/2021 | 9/28/2021
x. | Century Arms | VSKA Rifle 7.62x39mm 9/29/2021 | 9/29/2021
xi. | Century Arms | VSKA Rifle 7.62x39mm 10/1/2021 | 10/1/2021
xii. | Century Arms | VSKA Rifle 7.62x39mm 10/1/2021 | 10/1/2021
xiii, | Century Arms | VSKA Rifle 7.62x39mm 10/5/2021 | 10/5/2021
xiv. | Riley Defense | Rak 47 Rifle 7.62x39mm 10/5/2021 | 10/5/2021
Barrett
xv. | Manufacturing | 82A1 Rifle | .SOBMG 10/6/2021 | 10/6/2021
Springfield
xvi. | Armory MIA Rifle 308 10/6/2021 | 10/6/2021
xvil. | Century Arms | VSKA Rifle 7.62x39mm 10/6/2021 | 10/16/2021
xviii | Century Arms | WASR-10 | Rifle 7.62x39mm 10/6/2021 | 10/16/2021
Palmetto
ixx. | Arms PAIS Rifle 5.56 10/6/2021 | 10/16/2021
xx. | SAR SAR-9 Pistol 9mm 10/4/2021 | 10/11/2021
xxi. | Ruger Five Seven | Pistol 5.7x28mm 10/14/2021 | n/a
Centurion
xxii. | Century Arms | 12 Ga. Shotgun | 12 gauge 9/21/2021 | 10/16/2021
xxiii. | Century Arms | VSKA Rifle 7.62x39mm 10/17/2021 | 10/17/2021
xxiv. | Century Arms | VSKA _| Rifle 7,62x39mm 10/17/2021 | 10/17/2021

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j]- On or about the following dates, TUNIS, DOR, and ST. LOUIS falsely

filled out ATF Form 4473 in order to purchase firearms:

Date of Form Buyer Location of Dealer
i. 3/13/2021 TUNIS Miami, FL
ii. 3/13/2021 ST. LOUIS Miami, FL
ili. 3/23/2021 TUNIS Pompano Beach, FL
iv. 4/17/2021 ST. LOUIS Miami, FL
Vv. 4/17/2021 _TUNIS Miami, FL
Vi. 9/21/2021 ST. LOUIS Miami, FL
vii. | 9/28/2021 DOR Orlando, FL
viii. 9/29/2021 DOR Orlando, FL
ix. | 10/1/2021 DOR Orlando, FL
X. 10/4/2021 TUNIS Pompano Beach, FL
XL. 10/5/2021 DOR Apopka FL
Xil. 10/6/2021 DOR Orlando, FI,
__ xiii, | 10/6/2021 | ST. LOUIS Miami, FL
XIV. 10/14/2021 TUNIS _Pompano Beach, FL
XV. 10/17/2021 DOR Orlando, FL

(Conspiracy to Violate the Export Control Reform Act, in violation of Title 50, United States
Code, Section 4819)

COUNT TWO

(Conspiracy to Commit Smuggling and to Defraud the United States, 18 U.S.C. § 371)

29. The allegations in Paragraphs 1 through 28 of this Second Superseding Indictment
are incorporated and re-alleged by reference herein.

30. Beginning at least on or about March 1, 2021, and continuing until on or about
November 8, 2021, GERMINE, TUNIS, and others known and unknown to the Grand Jury, in the
District of Columbia and elsewhere, knowingly conspired and agreed together and with each other
(1) to commit a crime against the United States and its agency, DOC, fo wit, to smuggle and cause
the smuggling of goods from the United States to Haiti, in violation of 18 U.S.C. § 554(a), and (2)

to defraud the United States by interfering with and obstructing a lawful government function, that

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is, the enforcement by ATF of laws and regulations related to the purchase and sale of firearms,
by means of deceit, craft, trickery, and dishonesty.

(Conspiracy to Commit Smuggling and to Defraud the United States, Title 18, United States
Code, Section 554(a), all in violation of Title 18, United States Code, Section 371)

COUNTS THREE THROUGH SEVENTEEN

(Export Control Reform Act, 50 U.S.C. § 4819)
31. The allegations in Paragraphs 1 through 28 of this Second Superseding Indictment
are incorporated and re-alleged by reference herein.
32. On or about the dates listed below, GERMINE, TUNIS, and others known and
unknown did knowingly and willfully export, attempt to export, and cause to be exported goods,
as described in each Count below, from the United States to Haiti, without having first obtained

the required licenses from BIS, located in the District of Columbia, all in violation of ECRA:

Caliber/ Transaction
Make Model Type Gauge Completed
3 Century Arms VSKA Rifle 7.62x39mm 9/28/2021
4 Century Arms VSKA Rifle 7.62x39mm 9/29/2021
5 Century Arms VSKA Rifle 7.62x39mm 10/1/2021
6 Century Arms VSKA Rifle 7.62x39mm 10/1/2021
7 Century Arms VSKA Rifle ——_|_7.62x39mm 10/5/2021
8 Riley Defense Rak 47 Rifle 7.62x39mm | 10/5/2021
Barrett
9 _| Manufacturing 82A1 Rifle SOBMG 10/6/2021
Springfield
10 | Armory [MIA ss Rifle =| 308 ==, :'100/6/2021
11 __| Century Arms VSKA Rifle 7.62x39mm 10/16/2021
12 __| Century Arms WASR-10 Rifle 7.62x39mm | 10/16/2021
13 __| Palmetto Arms PAI5 Rifle 5.56 10/16/2021
14 SAR SAR-9 Pistol 9mm 10/11/2021
Centurion 12
15__| Century Arms Ga. Shotgun | 12 gauge 10/16/2021

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16__| Century Arms VSKA Rifle 7.62x39mm 10/17/2021

17 | Century Arms VSKA Rifle 7.62x39mm 10/17/2021

(Export Control Reform Act, Aiding and Abetting, Causing an Act to be Done, in violation
of Title 50, United States Code, Section 4819)

COUNT EIGHTEEN

(Smuggling)

33. The allegations in Paragraphs 1 through 28 of this Second Superseding Indictment
are incorporated and re-alleged by reference herein.

34, On or about October 9, 2021, in the District of Columbia and elsewhere,
GERMINE, TUNIS, and others known and unknown did fraudulently and knowingly export and
send, and attempt to export and send, firearms and ammunition from the United States to Haiti,
and received, concealed, bought, sold, and in any manner facilitated the transportation,
concealment, or sale of such firearms and ammunition, prior to exportation, knowing the same to
be intended for exportation contrary to law, all contrary to Title 50, United States Code, Section
4819, a law and regulation of the United States.

(Smuggling, Aiding and Abetting, Causing an Act to be Done, in violation of Title 18, United
States Code, Sections 554(a), 2)

COUNT NINETEEN

(Smuggling)
35. The allegations in Paragraphs 1 through 28 of this Second Superseding Indictment
are incorporated and re-alleged by reference herein.
36. On or about October 11, 2021, in the District of Columbia and elsewhere,
GERMINE, TUNIS, and others known and unknown did fraudulently and knowingly export and

send, and attempt to export and send firearms and ammunition from the United States to Haiti, and

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received, concealed, bought, sold, and in any manner facilitated the transportation, concealment,
or sale of such firearms and ammunition, prior to exportation, knowing the same to be intended
for exportation contrary to law, all contrary to Title 50, United States Code, Sections 4819, a law
and regulation of the United States.

(Smuggling, Aiding and Abetting, Causing an Act to be Done, in violation of Title 18, United
States Code, Sections 554(a), 2)

COUNT TWENTY

(Smuggling)

37. The allegations in Paragraphs 1 through 28 of this Second Superseding Indictment
are incorporated and re-alleged by reference herein.

38. On or about October 19, 2021, in the District of Columbia and elsewhere,
GERMINE, TUNIS, and others known and unknown did fraudulently and knowingly export and
send, and attempt to export and send firearms and ammunition from the United States to Haiti, and
received, concealed, bought, sold, and in any manner facilitated the transportation, concealment,
or sale of such firearms and ammunition, prior to exportation, knowing the same to be intended
for exportation contrary to law, all contrary to Title 50, United States Code, Section 4819, a law
and regulation of the United States.

(Smuggling, Aiding and Abetting, Causing an Act to be Done, in violation of Title 18, United
States Code, Sections 554(a), 2)

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COUNTS TWENTY-ONE THROUGH THIRTY-FOUR

(Laundering of Monetary Instruments (Promotion))

39. The allegations in Paragraphs 1 through 28 of this Second Superseding Indictment
are incorporated and re-alleged by reference herein.

40. On or about the dates described below, in the District of Columbia and elsewhere,
defendants GERMINE and TUNIS did transport, transmit, and transfer, and attempt to transport,
transmit, and transfer, and cause the transportation, transmission, and transfer of monetary
instruments and funds, as described below, from a place outside the United States, that is Haiti, to
a place in the United States, that is Florida, with the intent to promote the carrying on of specified
unlawful activity, to wit, the smuggling of firearms and ammunition from the United States to

Haiti, as described in Counts Two, Eighteen, Nineteen, and Twenty.

Count Date Amount Service Recipient
21 9/27/2021 $ 2,500 | MoneyGram TUNIS
22 |. 9/28/2021 $ 2,000 | MoneyGram TUNIS’s Associate
23 9/28/2021 L$ 2,000 _| Western Union TUNIS’s Associate
24 9/28/2021 $ 2,000 | MoneyGram DOR
25 9/28/2021 $ 2,000 | Western Union DOR
26 9/29/2021 $ 2,000 | MoneyGram DOR
27 9/29/2021 $ 2,500 | Western Union DOR
28 |. 9/29/2021 $ 2,000 | MoneyGram TUNIS
29 9/29/2021 $ 2,500 | Western Union TUNIS
30 10/6/2021 $ 1,000 | Western Union TUNIS
31 10/11/2021 $ 2,000 | MoneyGram | ST. LOUIS |
32 10/11/2021 $ 3,000 | Western Union ST. LOUIS |
33 10/11/2021 $ 2,500 | Western Union TUNIS
34 10/14/2021 $ 2,000 | MoneyGram TUNIS

(Laundering of Monetary Instruments, Aiding and Abetting, Causing an Act to be Done, in
violation of Title 18, United States Code, Sections 1956(a)(2)(A), 2)

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COUNTS THIRTY-FIVE THROUGH FORTY-EIGHT

(Laundering of Monetary Instruments (Proceeds))

41. The allegations in Paragraphs 1 through 28 of this Second Superseding Indictment
are incorporated and re-alleged by reference herein.

42. On or about the dates listed below, in the District of Columbia and elsewhere,
defendants GERMINE and TUNIS did knowingly conduct and attempt to conduct a financial
transaction affecting interstate and foreign commerce, to wit, the transactions involving financial
institutions involved in interstate commerce as described below, which involved the proceeds of
an unlawful activity, that is 400 Mawozo gang activity and kidnapping ransom payments for U.S.
citizens, with the intent to promote the carrying on of specified unlawful activity, to wit, the
smuggling of firearms and ammunition from the United States to Haiti as described in Counts
Two, Eighteen, Nineteen, and Twenty, and that while conducting and attempting to conduct such
financial transactions knew that the property involved in the financial transaction represented the

proceeds of some form of unlawful activity.

Count |Date Amount Type of Recipient
Transaction
35 9/27/2021 $ 2,500 | MoneyGram TUNIS
36 | 9/28/2021 $ 2,000 | MoneyGram _| TUNIS’s Associate
37 9/28/2021 $ 2,000 | Western Union | TUNIS’s Associate
38 9/28/2021 $ 2,000 | MoneyGram DOR
39 9/28/2021 $ 2,000 | Western Union DOR
40 | 9/29/2021 $ 2,000 | MoneyGram | DOR.
41 9/29/2021 $ 2,500 | Western Union DOR
42 9/29/2021 $ 2,000 | MoneyGram TUNIS
43 | 9/29/2021 $ 2,500 | Western Union _| TUNIS
44 10/6/2021 $ 1,000 | Western Union TUNIS
45 10/11/2021 $ 2,000 | MoneyGram ST. LOUIS
46 10/11/2021 $ 3,000 | Western Union ST. LOUIS
47 10/11/2021 | $ 2,500 | Western Union | TUNIS
48 10/14/2021 $ 2,000 | MoneyGram TUNIS

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(Laundering of Monetary Instruments, Aiding and Abetting, Causing an Act to be Done,
All in violation of Title 18, United States Code, Section 1956(a)(1)(A)(i), 2)

FORFEITURE ALLEGATIONS

1. The allegations contained in Counts One through Forty-Eight of this Second
Superseding Indictment are hereby realleged and incorporated by reference for the purpose of
alleging forfeiture pursuant to Title 18, United States Code, Sections 982(a)(1).

a Upon conviction of the offenses alleged in Counts One through Forty-Eight of this
‘Second Superseding Indictment, defendants shall forfeit to the United States any property, real or
personal, which constitutes, or is derived from proceeds traceable to this offense, pursuant to Title
18, United States Code, Section 981(a)(1)(A) & (C), and Title 28, United States Code, Section
2461(c). The United States will also seek a forfeiture money judgment for a sum of money equal
to the value of any property, real or personal, which constitutes, or is derived from proceeds
traceable to this offense.

3. Upon conviction of the offenses alleged in Counts One, and Three through Twenty
of this Second Superseding Indictment, defendants shall forfeit to the United States arms or
munitions of war or other articles and any vessel, vehicle, or aircraft containing the same or which
has been used in exporting or attempting to export such arms or munitions of war or other articles
relating to these offenses, pursuant to Title 22, United States Code, Section 401, and Title 28,
United States Code, Section 2461(c).

4. Upon conviction of the offenses alleged in Counts Twenty-One through Forty-
Eight of this Indictment, defendants shall forfeit to the United States any property, real or personal,
involved in this offense, or any property traceable to such property pursuant to Title 18, United

States Code, Section 982(a)(1). The United States will also seek a forfeiture money judgment for

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a sum of money equal to the value of any property, real or personal, involved in this offense, and
any property traceable to such property.
D. If any of the property described above as being subject to forfeiture, as a result of
any act or omission of defendants:
a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;

c. has been placed beyond the jurisdiction of the Court;

d. has been substantially diminished in value; or

e. has been commingled with other property that cannot be divided without
difficulty;

defendants shall forfeit to the United States any other property of defendants, up to the value of
the property described above, pursuant to Title 21, United States Code, Section 853(p).
(Criminal Forfeiture, pursuant to Title 18, United States Code, Section 981(a)(1)(C), Title 28,

United States Code, Section 2461(c), Title 22, United States Code, Section 401, Title 18, United
States Code, Section 982(a)(1), and Title 21, United States Code, Section 853(p))

A TRUE BILL

FOREPERSON

With Uf, ower [of

Attorney of the United States in
and for the District of Columbia

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